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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION
                                        §
   In re                                §    Chapter 11 (Subchapter V)
   FREE SPEECH SYSTEMS LLC,             §
                                        §    Case No. 22-60043 (CML)
                                        §
                                Debtor. §

   SUBCHAPTER V TRUSTEE’S EMERGENCY MOTION TO SUPPLEMENT THE
   ORDER (A) AUTHORIZING EMPLOYMENT OF PATRICK MAGILL AS CHIEF
      RESTRUCTURING OFFICER, (B) AUTHORIZING EMPLOYMENT OF
         STAFF OF MAGILL PC IN DISCHARGE OF DUTIES AS CHIEF
      RESTRUCTURING OFFICER, AND (C) GRANTING RELATED RELIEF

 This motion seeks an order that may adversely affect you. If you oppose the motion, you should
 immediately contact the moving party to resolve the dispute. If you and the moving party cannot
 agree, you must file a response and send a copy to the moving party. You must file and serve your
 response within 21 days of the date this was served on you. Your response must state why the
 motion should not be granted. If you do not file a timely response, the relief may be granted
 without further notice to you. If you oppose the motion and have not reached an agreement, you
 must attend the hearing. Unless the parties agree otherwise, the court may consider evidence at
 the hearing and may decide the motion at the hearing. Represented parties should act through
 their attorney.

 Emergency relief has been requested. The Subchapter V Trustee requests consideration of this
 Motion the week of March 18, 2024.

 If the Court considers the motion on an emergency basis, then you will have less than 21 days to
 answer. If you object to the requested relief or if you believe that the emergency consideration is
 not warranted, you should file an immediate response.

To Judge Christopher López, United States Bankruptcy Judge:

       Melissa Haselden, (the “Subchapter V Trustee”), files this Emergency Motion to

Supplement the Order (a) Authorizing Employment of Patrick McGill as Chief Restructuring Officer, (b)

Authorizing Staff of Patrick McGill PC in Discharge of Duties as Chief Restructuring Officer, and (c)

Granting Related Relief (“Motion”), and represents as follows:



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                      SUMMARY OF THE EMERGENCY APPLICATION

             1.     Amendment of the order authorizing the employment of the CRO will provide

  necessary clarity with regard to the CRO’s authority to manage the bankruptcy process of the

  Debtor. The Debtor and its new proposed counsel require this certainty as soon as possible to

  ensure timely negotiation or prosecution of litigation matters and in order to prepare for

  confirmation of the Debtor’s plan.

                                          JURISDICTION

             2.     This Court has jurisdiction by virtue of 28 U.S.C. § 1334. This matter is a

  core proceeding pursuant to 28 U.S.C. §§ 157(b)(1), (b)(2)(A) and (M).

                                               VENUE

        3.        Venue is proper in this district pursuant to pursuant to 28 U.S.C. §§ 1408(1) and

(2) and 11 U.S.C. § 101(2)(A).

                                          BACKGROUND

             4.     The Debtor filed a voluntary petition for relief under Chapter 11 Subchapter V

  of the Bankruptcy Code on July 29, 2022 [Docket No. 1]. On August 2, 2022, Melissa Haselden

  was appointed Subchapter V Trustee [Docket No. 22]. On October 13, 2022, the Court entered

  an order authorizing the employment of Patrick Magill as Chief Restructuring officer (“CRO”)

  [Docket No. 239] (the “CRO Order”) to assist Debtor and provide services during the pendency

  of the chapter 11 Subchapter V case including facilitating the reorganization of the Debtor’s

  assets.

             5.     On September 20, 2022, the Court entered an order approving the engagement

  of the Law Offices of Ray Battaglia, PLLC (“Battaglia”) as counsel for the Debtor. [Docket

  #180]. Unfortunately, there has been a breakdown in the relationship of Battaglia and the CRO.



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  On February 29, 2024, Battaglia filed a request to withdraw from representation of the Debtor.

  [Docket #830]. The Trustee understands that the CRO does not oppose the withdrawal.

       6.      It appears that the root of the failure of the relationship was in part due to the

question of the extent of CRO’s authority and whether it was necessary to consult with and take

direction from the CRO on matters related to the restructuring.

       7.      Given the history of business operations of this Debtor, both before the case was

filed, and during the case’s pendency, a truly independent party representing the Debtor’s estate is

essential. The CRO demonstrated his willingness and ability to address hard issues head on. The

CRO’s authority with regards to the restructuring should not be left to question. It benefits the

Debtor’s estate to have a strong, independent fiduciary that the parties and the Court may trust and

rely upon.

       8.      The Trustee consulted the United States Trustee regarding the relief requested and

the United States Trustee is not opposed.

                  EMERGENCY CONSIDERATION IS APPROPRIATE

       9.         Trustee requests that the CRO Order be clarified to reflect that the exclusive

decision-making authority with regards to matters relating to the bankruptcy case. The Debtor

requires assistance as soon as possible on litigation related matters and in order to prepare for and

prosecute confirmation of the Debtor’s plan. The Trustee believes the modification of the CRO

Order is in the best interests of the Debtor’s estate. The Trustee requests consideration of this

Motion as soon as the Court has availability after March 15, 2024. The Trustee understands that

counsel for PQPR is not available March 19 and 20, 2024.




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       WHEREFORE, the Trustee prays that the Court entered a supplement to CRO Order and

grant such other and further relief as is just and proper.



  DATED: March 18, 2024


                                                      /s/ Elizabeth C. Freeman
                                                      The Law Office of Liz Freeman
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                                                      Proposed Counsel to Melissa Haselden,
                                                      Subchapter V Trustee




                                  CERTIFICATE OF SERVICE

        I certify that on March 6, 2024, a copy of this Motion was sent to the parties listed
  below by the Court’s ECF notification system.


                                                              /s/ Elizabeth C. Freeman _____
                                                              Elizabeth C. Freeman




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